Case 1:19-cv-00673-WMS Document1 Filed 05/23/19 Page 1 of 19

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

 

JOSEPH GIRARD, Individually and as Administrator
of the Estate of MICHAEL GIRARD, Deceased,

Plaintiff, NOTICE OF REMOVAL
vs.
NYS Index No. 805863/2019
TIMOTHY B. HOWARD, as Erie County Sheriff,
COUNTY OF ERIE, ERIE COUNTY SHERIFF’S Civil Action No.
DEPARTMENT, ERIE COUNTY SHERIFF’S
OFFICE, and JOHN DOES, Erie County Sheriffs

Deputies, 1 9 / C VY 64 3<

Defendants.

 

TO: THE CLERK OF THE UNITED STATES DISTRICT COURT FOR THE WESTERN
DISTRICT OF NEW YORK:

PLEASE TAKE NOTICE that, pursuant to 28 U.S.C. §§ 1441(b) and 1446, defendants
TIMOTHY B. HOWARD, as Erie County Sheriff, COUNTY OF ERIE, ERIE COUNTY
SHERIFF’S DEPARTMENT, ERIE COUNTY SHERIFF’S OFFICE, and JOHN DOES, Erie
County Sheriff's Deputies, hereby remove to this Court the civil action filed in the Supreme
Court of the State of New York, County of Erie, as described below.

On May 13, 2019, plaintiff JOSEPH GIRARD, Individually and as Administrator of the
Estate of MICHAEL GIRARD, Deceased, filed a civil action entitled against TIMOTHY B.
HOWARD, as Erie County Sheriff, COUNTY OF ERIE, ERIE COUNTY SHERIFF’S
DEPARTMENT, ERIE COUNTY SHERIFF’S OFFICE, and JOHN DOES, Erie County
Sheriff's Deputies, Case Index Number: 805863/2019, in the Supreme Court for the State of

New York, County of Erie.
Case 1:19-cv-00673-WMS Document1 Filed 05/23/19 Page 2 of 19

On May 21, 2019, plaintiff served the Summons and Complaint in the above-referenced
state court action upon defendants. A copy of the Summons and Complaint in the state court
action are attached hereto as Exhibit A. Copies of the Affidavits of Service are attached as
Exhibit B.

No further proceedings have been had in the state court action. Plaintiff's Complaint
contains a cause of action pursuant to 42 U.S.C. §1983, alleging that the County defendants
violated plaintiff's Fifth, Eighth, and/or Fourteenth Amendment rights.

Accordingly, this Court has original jurisdiction over the state court action under 28
U.S.C. §1331 (federal question) because it is a civil action that arises under the Constitution,
laws, or treaties of the United States.

No previous application has been made for the relief requested herein.

Dated: Buffalo, New York
May 23, 2019
Respectfully submitted,

MICHAEL A. SIRAGUSA
Erie County Attorney

s/ Erin E. Molisani

Erin E. Molisani

Assistant County Attorney

95 Franklin Street, Room 1634
Buffalo, New York 14202
Telephone: (716) 858-2216
Email: Erin.Molisani@erie.gov

To: Alison K. Haseley, Esq.
COLLINS & COLLINS ATTORNEYS, LLC
Attorneys for plaintiff
267 North Street
Buffalo, New York 14201
Telephone: (716) 885-9700
Email: ahaseley@collinscollins.com
Case 1:19-cv-00673-WMS Document1 Filed 05/23/19 Page 3 of 19

Index of Documents
filed in State Court prior to removal

Document Date of Filing
A. Summons and Complaint May 13, 2019

B. Affidavits of Service May 21, 2019
Case 1:19-cv-00673-WMS Document1 Filed 05/23/19 Page 4 of 19

CERTIFICATE OF SERVICE

I hereby certify that on May 23, 2019, I mailed the foregoing Notice of Removal, by the

United States Postal Service, to the following individuals:

Dated:

Alison K. Haseley, Esq.

COLLINS & COLLINS ATTORNEYS, LLC
Attorneys for plaintiff

267 North Street

Buffalo, New York 14201

Telephone: (716) 885-9700

Email: ahaseley@collinscollins.com

Buffalo, New York

May 23, 2019
MICHAEL A. SIRAGUSA
Erie County Attorney

s/ Erin E. Molisani

Erin E. Molisani

Assistant County Attorney

95 Franklin Street, Room 1634
Buffalo, New York 14202
Telephone: (716) 858-2216
Email: Erin.Molisani@erie.gov
Case 1:19-cv-00673-WMS Document1 Filed 05/23/19 Page 5 of 19

Fuld A

 
Case 1:19-cv-00673-WMS Document1 Filed 05/23/19 Page 6 of 19

(FILED: ERIE COUNTY CLERK 05/13/2019 02:42 PM TINDER NO. SO5863/2019
NYSCHF | DOC. NO. 1 RECEIVED NYSCEF: 05/13/2019

 

STATE OF NEW YORK
SUPREME COURT : COUNTY OF ERIE

JOSEPH GIRARD, Individually, and as

Administrator of the Estate of MICHAEL SUMMONS
GIRARD, Deceased,
| 407 Wabash Avenue Index No:

| Buffalo, New York 14217,

Plaintiff,
v.

TIMOTHY B. HOWARD, as
ERIE COUNTY SHERIFF
10 Delaware Avenue

Buffalo, New York 14202

COUNTY OF ERIE
95 Franklin Street
Butfalo, New York 14202

ERIE COUNTY SHERIFF’S DEPARTMENT
10 Delaware Avenue |
Buffalo, New York 14202

ERIE COUNTY SHERIFF'S OFFICE |
10 Delaware Avenue
Buffalo, New York 14202

JOHN DOES, Erie County Sheriff's Deputies
10 Delaware Avenue
Buffalo, New York 14202,

Defendants. |

TO THE ABOVE-NAMED DEFENDANTS: |

YOU ARF HEREBY SUMMONED AND REQUIRED to serve upon Plaintiff's attorneys,
at the address stated below, a written Answer to the attached Complaint. |

[f this Summons is served upon you within the State of New York by personal service, you |
must respond within twenty (20) days after service, not counting the day of service. If this Summons
| is not personally délivered to you within the State of New York, you must respond within thirty (30)

| | days after service is completed, as provided by law.

| | Collins&Collins

ATTORNEYS, LiG
Case 1:19-cv-00673-WMS Document1 Filed 05/23/19 Page 7 of 19

(FILED: ERIE COUNTY CLERK 05/13/2019 02:42 PM INDES NO. BO5863/2019
NYSCEF DOC. NO. 1 RECEIVED NYSCEF: 05/13/2019

 

I If you do not respond to the attached Complaint within the applicable time limitation stated
above, a Judgment will be entered against you by default for the relief demanded in the Complaint
without further notice to you.

This action is brought within the County of Erie and the State of New York because the |
residence of the Plaintiff in Erie County.

DATED: May 13, 2019 |
Buffalo, New York

ALISON K. HASELEY, ES).
COLLINS & COLLINS Al’! ORNEYS, LLC

Attorneys for Plaintiff

267 North Street

Buffalo, New York 14201 |
(716) 885-9700 |

 

ATTORNEYS, LLC

a, 267 North Street, Buffalo, New York 14201 p 716 885.9700

2 of B
Case 1:19-cv-00673-WMS Document1 Filed 05/23/19 Page 8 of 19

(FILED: ERIE COUNTY CLERK 05/13/2019 02:42 PM INDEX NO: 805863/2019
NYSCEF, DOC. NO. 1 RECEIVED NYSCEF: 05/13/2019

 

SUPREME COURT
STATE OF NEW YORK : COUNTY OF ERIE

 

JOSEPH GIRARD, Individually, and as
_ | Administrator of the Estate of
| MICHAEL GIRARD, deceased

Plaintiff,
COMPLAINT

vs. Index No.

_ TIMOTHY B. HOWARD, as

"ERIE COUNTY SHERIFF, COUNTY OF ERIE, ERIE
COUNTY SHERIFF’S DEPARTMENT, ERIE COUNTY
SHERIFF’S OFFICE, JOHN DOES, Erie County
Sheriff's Deputies

Defendants.

Plaintiff, JOSEPH GIRARD, as Administrator of the Estate of MICHAEL GIRARD,
| deceased, by his attorneys, Collins & Collins Attorneys, LLC, as and for his Complaint against
the defendants, TMOTHY B. HOWARD as ERIE COUNTY SHERIFF, COUNTY OF ERIE,
ERIE COUNTY SHERIFF’S DEPARTMENT, ERIE COUNTY SHERIFF’S OFFICE, and

| _ JOHN DOES being Erie County Sheriff's Deputies, alleges as follows:

l. The Plaintiff, JOSEPH GIRARD was and is a resident of the County of Erie and

__ the State of New York.

2, The Plaintiff, JOSEPH GIRARD is the natural father of the decedent, MICHAEL

| GIRARD.
3. Prior to his death, Plaintiff's decedent, MICHAEL GIRARD, was a resident of

the County of Erie, State of New York.

| ATTORNEYS, LLCS |

3 of 8
Case 1:19-cv-00673-WMS Document1 Filed 05/23/19 Page 9 of 19

 

 

(FILED: ERIE COUNTY CLERK 05/13/2019 02:42 PM TNDEX NO. BUSSS3/ 2029
NYSCEF) DOC. NO. 1 RECEIVED NYSCEF: 05/13/2019
4, On October 3, 2018, the Surrogate’s Court of Erie County granted letters of |

administration to JOSEPH GIRARD for the Estate of MICHAEL GIRARD.

5. Upon information and belief, at all times herein, the defendant, COUNTY OF
ERIE, was and is a municipal corporation duly organized under and pursuant to the laws of the
State of New York:

6. Upon information and belief, at all times herein, the defendant, ERIE COUNTY
SHERIFF’S DEPARTMENT and/or ERIE COUNTY SHERIFF'S OFFICE, was and is an
administrative branch of the COUNTY OF ERIE.

hi At all times herein, TIMOTHY B. HOWARD, was and is the Sheriff of the
County of Erie. |
| | 8. At all times herein, JOHN DOES being Erie County Sheriff's Deputies whose

identities are as yet unknown, were employees of the defendants ERIE COUNTY SHERIFF
| ' TIMOTHY B. HOWARD and/or COUNTY OF ERIE and/or ERIE COUNTY SHERIFF’S
DEPARTMENT and/or ERIE COUNTY SHERIFF’S OFFICE.
9. Upon information and belief, at all times herein, defendants, ERIE COUNTY
| SHERIFF TIMOTHY B. HOWARD and/or COUNTY OF ERIE and/or ERIE COUNTY
SHERIFF’S DEPARTMENT and/or ERIE COUNTY SHERIFF’S OFFICE owned, provided,
maintained, operated, managed and/or controlled the Erie County Holding Center.

10. Upon information and belief, at all times herein, defendants, ERIE COUNTY
SHERIFF TIMOTHY B. HOWARD and/or COUNTY OF ERIE and/or ERIE COUNTY
SHERIFF’S DEPARTMENT and/or ERIE COUNTY SHERIFF’S OFFICE were responsible for
the appointment, trainin g and supervision of Sheriff's Deputies, corrections officers, and other

\

staff assigned to the Erie County Holding Center.
C 1 a S C 1] o

“4 of 8
Case 1:19-cv-00673-WMS Document1 Filed 05/23/19 Page 10 of 19

 

(FILED: ERIE COUNTY CLERK 05/13/2019 02:42 PM

INDEX NO. 805863/2019

NYSCEF DOC. NO. 1 RECEIVED NYSCEF: 05/13/2019

11. Upon information and belief, at all times herein, defendants, ERIE COUNTY
SHERIFF TIMOTHY B. HOWARD and/or COUNTY OF ERIE and/or ERIE COUNTY
SHERIFF’S DEPARTMENT and/or ERIE COUNTY SHERIFF’S OFFICE were responsible for
the care, custody, and control of the inmates of the Erie County Holding Center, and owed a duty
to receive and safely keep prisoners in jails over which they had custody.
12. The claim arises out of an incident that occurred on or about May 25, 2018 at the
Erie County Holding Center located at 121 West Eagle Street, Buffalo, New York.
13. | Onor about the 16" day of August 2018, Notices of Claim were served on behalf
of the plaintiff upon the ERIE COUNTY SHERIFF TIMOTHY B. HOWARD, COUNTY OF
ERIE and ERIE COUNTY SHERIFF'S OFFICE. At least thirty (30) days have elapsed since the
service of the Notices of Claim as aforesaid, and the defendants have failed and neglected to
adjust or pay the sid claims. |

AS AND FOR A FIRST CAUSE OF ACTION AGAINST |
DEFENDANTS, PLAINTIFF ALLEGES;

14. Upon information and belief, the decedent, MICHAEL GIRARD was an inmate
or prisoner at the Erie County Holding Center from approximately May 21, 2018 through May

25, 2018.

15. On May 25, 2018 at or before approximately 1:00 a.m., while under the care,
custody, control and supervision of the defendants, ERIE COUNTY SHERIFF TIMOTHY B.
HOWARD and/or‘; COUNTY OF ERIE and/or ERIE COUNTY SHERIFF’S OFFICE and/or
ERIE COUNTY SHERIFF’S DEPARTMENT, the decedent, MICHAEL GIRARD committed
suicide by hanging himself.

16. | Upon information and belief, the incident herein described, and the resultant

injuries and damages sustained were caused by the negligence, carelessness, recklessness, and/or

S of 8
Case 1:19-cv-00673-WMS Document1 Filed 05/23/19 Page 11 of 19

(FILED: ERIE COUNTY CLERK 05/13/2019 02:42 PM HIDES WSs
NYSCEF DOC. NO. 1 RECEIVED NYSCEF: 05/13/2019

 

805863/2019

unlawful conduct on the part of each of the defendants, and/or their agents, servants, or
_ employees, and more particularly in failing to receive and safely keep plaintiff's decedent;
failing to properly supervise and monitor plaintiff's decedent while he was incarcerated; in
failing to properly train and/or supervise deputies and other employees; in negligent hiring,
training and retention of deputies and other employees; in failing to take steps to prevent
_ | decedent from harming himself; in failing to screen the decedent for health and/or mental health
problems while he was incarcerated; in failing to enact adequate policies, procedures, customs
and/or guidelines to prevent the death of inmates; in failing to enact adequate policies, |
procedures, customs and/or guidelines to asses, evaluate, supervise, monitor, and/or treat inmates
with medical and/or mental health issues; in failing to modify the decedent’s person and quarters
| to prevent suicide; in failing to identify the decedent’s suicide risk while he was incarcerated; in
failing to place the decedent on suicide watch while he was incarcerated; in failing to place
decedent in a detoxification unit while he was incarcerated; in failing to protect plaintiff's |
decedent from a reasonably foreseeable injury, including suicide; in failing to comply with New
York State and Federal regulations and/or prior Stipulated Settlement Agreement; and, in failing
to comply with generally recognized industry standards,
17, As a result of the aforesaid, plaintiff's decedent sustained conscious pain and |
suffering prior to his death, mental and emotional suffering and anguish prior to his death, fear of
impending death, death, and his distributes have sustained pecuniary loss. In addition,

Defendants’ conduct warrants punitive damages.

AS AND FOR A SECOND CAUSE OF ACTION AGAINST |
DEFENDANTS, PLAINTIFF ALLEGES;:

18. Plaintiff repeats and realleges the claims set forth in paragraphs “1” through”17” |

| above as is more sully set forth herein. |

|
| CollinséColl |

| ATTORNEYS, LLC

6 of 8
Case 1:19-cv-00673-WMS Document1 Filed 05/23/19 Page 12 of 19

(FILED: ERIE COUNTY CLERK 05/13/2019 02:42 PM INDEX (NO. S05863,/2019
NYSCEF Doc. NO. 1 RECEIVED NYSCEF: 05/13/2019

 

19. Each and all of the aforesaid acts or omissions stated above with respect to |
defendants ERIE COUNTY SHERIFF TIMOTHY B. HOWARD, COUNTY OF ERIE, ERIE
COUNTY SHERIFF’S OFFICE and/or ERIE COUNTY SHERIFF’S DEPARTMENT, and
JOLIN DOES, Erie County Sheriff's Deputies, and all agents, employees and deputies involved |
with the processing, admitting, receiving, keeping, supervising, evaluating, and/or monitoring of |
plaintiff's decedent were performed under the color and the pretense of the statutes, ordinances,
regulations, customs and uses of the State of New York, County of Erie, and Erie County
|| Sheriff's Departmént and/or Erie County Sheriff's Office.
| | 20. The foregoing conduct of each of the defendants and/or their agents, servants, and

employees, acting under the color of law, deprived plaintiff's decedent of rights, privileges
and/or immunities granted to him by the Fifth, Eight, and/or Fourteenth Amendments of the
Constitution of the United States, all in violation of 42 U.S.C. § 1983 and 1988 as well as the
Constitution of the State of New York, New York State Penal Law, New York State Corrections
| | Law, and the New York State common law.
| | 21. Based on the foregoing, plaintiff is entitled to judgment against the defendants in
an amount that exéeeds the jurisdictional limits of all lower courts, punitive damages, and an
award of counsel fees pursuant to 42 U.S.C. § 1988.

22. One or more of the exceptions under CPLR Article 16 apply to this action.

WHEREFORE, the Plaintiff, JOSEPH GIRARD, individually and as Administrator of
| the Estate of MICHAEL GIRARD, demands judgment, jointly and severally, against defendants,
ERIE COUNTY SHERIFF TIMOTHY B. HOWARD, COUNTY OF ERIE, ERIE COUNTY
SHERIFF’S OFFICE, ERIE COUNTY SHERIFF’S DEPARTMENT, and JOHN DOES, Erie
_| County Sheriff's Deputies, for conscious pain and suffering and wrongful death damages and

Collins&Collins

ATTORNEYS, LLC

7 of 8
Case 1:19-cv-00673-WMS Document1 Filed 05/23/19 Page 13 of 19

 

 

 

(FILED: ERIE COUNTY CLERK 05/13/2019 02:42 PM TIDES NQ. G05863/ 2019
NYSCEF DOC. NO. 1 RECEIVED NYSCEF: 05/13/2019

punitive damages in an amount that exceeds the jurisdictional limits of all lower courts and in an
amount to be determined by a jury, plus the costs and disbursements of this action.

DATED: May 13, 2019
Buffalo, New York

ALISON K. HASELEY, ESQ.

 

COLLINS & COLLINS ATTORNEYS, LLC
Attorneys for Plaintiff

267 North Street

Buffalo, New York 14201

(716) 885-9700

Collins&Collins
ATTORNEYS, LLC |
a 267 North Street, Buffalo, New York 14201 1! » 716 885 9700
eo
8B of 8
Case 1:19-cv-00673-WMS Document1 Filed 05/23/19 Page 14 of 19

E yhibi b (>

 
Case 1:19-cv-00673-WMS Document1 Filed 05/23/19 Page 15 of 19

RU ur i

 

 

Plaintiff / Petitioner: AFFIDAVIT OF SERVICE
JOSEPH GIRARD, Individually and as Administrator of the Estate Index No:

of MICHAEL GIRARD, Deceased 805863/2019
Defendant / Respondent:

COUNTY OF ERIE, et al

The undersigned being duly swom, deposes and says; deponent is not a party herein, is over 18 years of age and resides at PO Box 1932,
Buffalo, NY 14226. That on MAY 16, 2019 AT 1:50PM AT 10 DELAWARE AVE, BUFFALO, NY 14202 deponent served the within SUMMONS,
COMPLAINT on ERIE COUNTY SHERIFF'S DEPARTMENT -

[] Individual: by delivering a true copy of each to said defendant, personally; deponent knew the person so served to be the person
described as said defendant therein.
C] Corporation: __ adefendant, therein named, by delivering a true copy of each to
personally, deponent knew said corporation so served to be the corporation described, and knew said individual to be
thereof.

Suitable Person: by delivering thereat, a true copy of each to MICKEY PAWENSKI - SECRETARY TO TIMOTHY B. HOWARD SHERIFF a
person of suitable age and discretion. —
Affixing to Door: by affixing a true copy of each to the door thereof, deponent was unable with due diligence to find defendant, or
a person of suitable age or discretion thereat, having called thereon; at

Mailing: Deponent also enclosed a copy of same, in a postpaid sealed wrapper properly addressed to said defendant at defendant's
lastknown residence, ___, and depositing said wrapper in a post office, official depository under the exclusive

care and custody of the United States Post Office, department, with New York State. Mailed on a weeestenh

Military Service: | asked the person spoken to whether defendant was in active military service of the United States or of the State of
New York in any capacity whatever and received a negative reply. Defendant wore ordinary civilian clothes and no military uniform. The
source of my information and the ground of my belief are the conversations and observations above narrated. Upon information
and belief | aver that the defendant is not in the military service of New York State or of the United States as that term is defined in
either the State or in the Federal statutes.

[x]
(J
CJ
CJ

 

 

 

 

 

Description:
Age: 5560 ss Ethnicity: CAUCASIAN = ss Geen FEMALE _ Weight? 125
Height: 5'6 Hair; LIGHT BROWN Eyes: LIGHT Relationship: SECRETARY TO
_ _ SHERIFF
Other MICHEKEY PAWENSKI STATED SHE WAS AUTHORIZED TO ACCEPT SERVICE OF PROCESS ON BEHALF OF ERIE COUNTY SHERIFF'S
DEPARTMENT wes Se _ : _
VV \ ees vf mcg
Swom to before me on JP ACL oly fl
| . SSS rT t <a
, , mre 15 yp Sf
; } ; 1 \ | \ +
a Woke S-yog ect, VY fant
Michael Hadden - Process Serter Notary Public i i,
\ |
BETTY Y. LANTZ

Notary Public, State of New York
Qualified in Erie County

Reg. No. 01LA6292638
My Commission Expires 11-04-20
Case 1:19-cv-00673-WMS Document1 Filed 05/23/19 Page 16 of 19

Plaintiff /Petitioner; AFFIDAVIT OF SERVICE
JOSEPH GIRARD, individually and as Administrator of the Estate Index No:

of MICHAEL GIRARD, Deceased 805863/2019
Defendant / Respondent:

COUNTY OF ERIE, et al

The undersigned being duly swom, deposes and says; deponent is not a party herein, is over 18 years of age and resides at PO Box 1932,
Buffalo, NY 14226. That om MAY 16, 2019 AT 1:50PM AT 10 DELAWARE AVE, BUFFALO, N NY 14202 deponent served the within SUMMONS,

COMPLAINT on ERIE COUNTY SHERIFF'S OFFICE

 

 

Individual: by delivering a true copy of each to said defendant, personally; deponent knew the person so served to be the person

described as said defendant therein.

Corporation: a defendant, therein named, by delivering a true copy of each to

thereof.

| Suitable Person: by delivering thereat, a true copy of each to MICKEY PAWENSK| - SECRETARY TO TIMOTHY B, HOWARD SHERIFF a
person of suitable age and discretion.
Affixing to Door: by affixing a true copy of each to the door thereof, deponent was unable with due diligence to find defendant, or
a person of suitable age or discretion thereat, having called thereon; at

Mailing: Deponent also enclosed a copy of same, in a postpaid sealed wrapper properly addressed to said defendant at defendant's
last known residence, , and depositing said wrapper in a post office, official depository under the exclusive

care and custody of the United States Post Office, department, with New York State. Mailed on

Military Service: | asked the person spoken to whether defendant was in active military service of the United States or of the State of
New York in any capacity whatever and received a negative reply. Defendant wore ardinary civilian clathes and no military uniform. The
source of my information and the ground of my belief are the conversations and observations above narrated. Upon information
and belief | aver that the defendant is not in the military service of New York State or of the United States as that term is defined in
either the State or in the Federal statutes.

 

 

 

 

 

 

 

 

 

Description:
Age: 55-60 ———_—_ Ethnicity: CAUCASIAN Gender. FEMALE _ Weight: 125
Height: 5'6 Hair: LIGHT BROWN Eyes: LIGHT Relationship: SECRETARY TO
_ _ SHERIFF
Other MICHEKEY PAWENSKI STATED SHE WAS AUTHORIZED TO ACCEPT SERVICE OF PROCESS ON BEHALF OF ERIE COUNTY SHERIFF'S
OFFICE ee
on i | { t
(IE S-3 oO~ ( 1S het : \ LA LA } CL VAA-S
_ 4, ; ——— —=+. . t — ==
Michael Hadden Process | \erver Notary Pub/ic
\

BETTY Y. LANTZ
Notary Public, State of New York
Qualified in Erie County
Reg. No. 01LA6292638
My Commission Expires 11-04-20
Case 1:19-cv-00673-WMS Document1 Filed 05/23/19 Page 17 of 19

 

ERIE COUNTY SUPREME COURT OF THE STATE OF NEW YORK COUNTY OF ERIE
Plaintiff / Petitioner: AFFIDAVIT OF SERVICE

JOSEPH GIRARD, Individually and as Administrator of the Estate Index No:

of MICHAEL GIRARD, Deceased 805863/2019

Defendant / Respondent:

COUNTY OF ERIE, et al

The undersigned being duly sworn, deposes and says; deponent is not a party herein, is over 18 years Of age and resides at PO Box 1932,
Buffalo, NY 14226. That on MAY 16, 2019 AT 1:50PM AT 10 DELAWARE AVE, BUFFALO, NY 14202 deponent served the within SUMMONS,
COMPLAINT on TIMOTHY B. HOWARD, AS ERIE COUNTY SHERIFF oo

 

Individual: by delivering a true copy of each to said defendant, personally; deponent knew the person so served to be the person
described as said defendant therein.
Corporation: 4 a defendant, therein named, by delivering a true copy of each to _
personally, deponent knew said corporation so served to be the corporation described, and knew said individual to be

_ thereof.
Suitable Person: by delivering thereat, a true copy of each to MICKEY PAWENSKI - SECRETARY TO TIMOTHY B. HOWARD SHERIFF a
person of suitable age and discretion. ~
Affixing to Door: by affixing a true copy of each to the door thereof, deponent was unable with due diligence to find defendant, or
a person of suitable age or discretion thereat, having called thereon; at

Mailing: Deponent also enclosed a copy of same, in a postpaid sealed wrapper properly addressed to said defendant at defendant's
last known residence, , and depositing said wrapper in a post office, official depository under the exclusive care and custody of the
United States Post Office, department, with New York State. Mailed on MAY 20, 2019.

| Military Service: | asked the person spoken to whether defendant was in active military service of the United States or of the State of
New York in any capacity whatever and received a negative reply. Defendant wore ordinary civilian clothes and no military uniform. The
source of my information and the ground of my belief are the conversations and observations above narrated. Upon information
and belief | aver that the defendant is not in the military service of New York State or of the United States as that term is defined in

either the State or in the Federal statutes,

A OF OOD

Description:

Age: 55-60 Ethnicity: CAUCASIAN Gender, FEMALE Weight: 125

Height: 5'6 Hair LIGHT BROWN Eyes: LIGHT Relationship: SECRETARY TO
SHERIFF

Other MICHEKEY PAWENSKI STATED SHE WAS AUTHORIZED TO ACCEPT SERVICE OF PROCESS ON BEHALF OF TIMOTHY B HOWARD, ERIE
COUNTY SHERIFF : _ as

 

 

 

 

Swom to before me on IV 3} 4
- \ ’) | aaa
KP Che’ Mien Uo “ant
\W fo es46<, §-Q0-| G i JR OL IQA LAE
: a i - f ——S i
Michael Hadden = Process Server Notary Putiic 4
BETTY Y. LANTZ

Notary Public, State of New York
Qualified in Erie County
Reg. No. 01LA6292638
My Commission Expires 11-04-20 S
Case 1:19-cv-00673-WMS Document1 Filed 05/23/19 Page 18 of 19

COUNTY OF ERIE

CAL Ww JU RcWIC Wn) Ur 1c SPA co UP cv TORR

 

Plaintiff / Petitioner: AFFIDAVIT OF SERVICE
JOSEPH GIRARD, Individually and as Administrator of the Estate Index No:

of MICHAEL GIRARD, Deceased 805363/2019
Defendant / Respondent:

COUNTY OF ERIE, et al

The undersigned being duly swom, deposes and says; deponent is not a party herein, is over 18 years of age and resides at PO Box 1932,
Buffalo, NY 14226. That on MAY 16, 2019 AT 1:50PM AT 10 DELAWARE AVE, BUFFALO, NY 14202 deponent served the within SUMMONS,
COMPLAINT on 1 JOHN DOES, Erie County Sheriff's Deputies

[__] Individual: by delivering a true copy of each to said defendant, personally; deponent knew the person so served to be the person

described as said defendant therein.
[__] Corporation: a defendant, therein named, by delivering a true copy of each to _
personally, deponent knew said corporation so served to be the corporation described, and knew said individual to be

/ thereof.

Suitable P Person: by ‘delivering thereat, a true copy of each to MICKEY PAWENSKI - SECRETARY TO TIMOTHY B. HOWARD SHERIFF a
person of suitable age and discretion.
Affixing to Door: by affixing a true copy of each to the door thereof, deponent was unable with due diligence to find defendant, or
a person of suitable age or discretion thereat, having called thereon; at

 

 

Mailing: Deponent also enclosed a copy of same, in a postpaid sealed | wrapper property: acidressed to said defendant at defendant's
last known residence, and depositing said wrapper in a past office, official depository under the exclusive
care and custody of the United States Post Office, department, with New York State. Mailed on _ :

Military Service: | asked the person spoken to whether defendant was in active military service of the United States or of the State of
New York in any capacity whatever and received a negative reply. Defendant wore ordinary civilian clothes and no military uniform. The
source of my information and the ground of my belief are the conversations and observations above narrated, Upon information
and belief | aver that the defendant is not in the military service of New York State or of the United States as that term is defined in

either the State or in the Federal statutes.

UW 0 08

Description:
Age: 55-60 Ethnicity: CAUCASIAN _-« Gender’ FEMALE Weight: 125 __
Height: 5'6 Hair. LIGHT BROWN Eyes: LIGHT Relationship: SECRETARY TO

SHERIFF
Other MICHEKEY PAWENSK! STATED SHE WAS AUTHORIZED TO ACCEPT SERVICE OF PROCESS ON BEHALF OF ERIE COUNTY SHERIFF'S
Deputies as John Does

 

Sworn to before me on
1

WU |\ AOE és §-yor~14 decay \

Michael Hadden - Procets Server Notary Pubjic \)

 

BETTY Y. LANTZ
Notary Public, State of New York
Qualified in Erie Cousity

Reg, No. O1LAG292638 5 |
My Commission Expires 11-04-20.
Case 1:19-cv-00673-WMS Document1 Filed 05/23/19 Page 19 of 19

ERIE COUNTY SUPREME COURT OF THE STATE OF NEW YORK COUNTY OF ERIE
Plaintiff / Petitioner; AFFIDAVIT OF SERVICE

JOSEPH GIRARD, Individually and as Administrator of the Estate Index No:

of MICHAEL GIRARD, Deceased 805863/2019

Defendant / Respondent

COUNTY OF ERIE, et al

The undersigned being duly sworn, deposes and says; deponent is not a party herein, is over 18 years of age and resides at PO Bax 1932,
Buffalo, NY 14226. That on MAY MAY 16, 2019 AT 1 1:30PM AT 95 FRANKLIN S1 STREET, ROOM 1634, BUFFALO, 3, NY 14202 deponent served the

within SUMMONS, COMPLAINT on COUNTY OF ERIE.

C] Individual: by delivering a true copy of each to said defendant, personally; deponent knew the person so served to be the person
described as said defendant therein.
_] Corporation: a defendant, therein named, by delivering a true copy of each to
personally, deponent knew said corporation so served to be the corporation described, and knew said individual tobe
____ thereof,
Suitable | Person: by ‘delivering thereat, a true copy of each to KENNETH R R KIRBY - ASSISTANT COU NTY ATTORNEY a person of suitable
age and discretion.
Affixing to Door: by affixing a true copy of each to the door thereof, deponent was unable with due diligence to find defendant, or
4 person of suitable age or discretion thereat, having called thereon; at

 

 

Mailing: Deponent also enclased a copy of same, in a postpaid sealed wrapper properly addressed to said defendant at defendant's
last known residence, and depositing said wrapper in a post office, official depository under the exclusive
care and custody of the United States Post Office, department, with New York State. Mailed on

Military Service: | asked the person spoken to whether defendant was in active military service of the United States or of the State of
New York in any capacity whatever and received a negative reply. Defendant wore ordinary civilian clothes and no military uniform. The
source af my information and the ground of my belief are the conversations and observations above narrated. Upon information
and belief | aver that the defendant is not in the military service of New York State or of the United States as that term is defined in

either the State or in the Federal statutes.

 

 

Sareieeae,

 

 

 

 

 

 

Description:
Age: 50-55 Ethnicity: CAUCASIAN Gender MALE Weight: 185
Height: 6'0 Hair GRAY Eyes: LIGHT Relationship: ASST COUNTY
a a a SSIS ATTORNEY
Other __ a a
| \¢
= | =, JO) 7
A 4 fpr | AW
I A iL le— ‘I
MIS S-ad~19 ‘ ty
a EE = _ eo a! = aan
Michael Hadden - Proces| Server Notary Public rg :
’ BETTY Y. LANTZ

Notary Public, State of New York
Qualified in Erie County

Reg. No. 01LA6292638
My Commission Expires 11-04-20 Al
